Case: 4:24-cv-00336-HEA           Doc. #: 15     Filed: 08/02/24      Page: 1 of 1 PageID #: 157




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

 CHARLES SHATTUCK,                                )
                                                  )
                  Plaintiff,                      )
                                                  )
           v.                                     )          No. 4:24-CV-00336 HEA
                                                  )
 JASON LEWIS, et al.,                             )
                                                  )
                  Defendants.                     )

                           OPINION, MEMORANDUM AND ORDER

         Before the Court is plaintiff’s motion for reconsideration of the Opinion, Memorandum

and Order and Order of Partial Dismissal entered on July 3, 2024. [ECF No. 14]. After reviewing

the grounds raised by plaintiff, the Court will decline to alter or amend the judgment of this Court.

The Court concludes that plaintiff’s motion fails to point to any manifest errors of law or fact, or

any newly discovered evidence. Plaintiff is therefore not entitled to reconsideration of the partial

dismissal of his complaint, and his motion will be denied.

         Accordingly,

         IT IS HEREBY ORDERED that plaintiff’s motion for reconsideration of the partial

dismissal of his complaint [ECF No. 14] is DENIED.

         IT IS FURTHER ORDERED that an appeal of this Order would not be taken in good

faith.

         Dated this 2nd day of August, 2024.



                                                        HENRY EDWARD AUTREY.
                                                      UNITED STATES DISTRICT JUDGE
